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                                            Judge Phillip S. Figa
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 Exhibit No.        Brief Description        Offer     Stip     IN     OUT          Remarks
     1         Affidavit and Search                                          Exhibit 1 to Document 36
               Warrant 1603 Ogden,
               Pueblo, Colorado
     2         Execution of Search                                           Exhibit 2 to Document 36
               Warrant 1603 Ogden
               Avenue
     3         Affidavit and Search 20th                                     Exhibit 1 to Document 45
               Warrant for 1200 Lane,
               Pueblo, Colorado
     4         Inventory for Search                                          Exhibit 2 to Document 45
               Warrant 1200 20th Lane,
               Pueblo, Colorado
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